                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                              |
IN RE:                                        |       CHAPTER 13
ERICA M. WILLIAMS                             |
a/k/a Erica Monique Williams                  |
a/k/a Erica Williams                          |
                                              |       CASE NO. 5-20-
                                              |
                                              |       ORIGINAL PLAN
                                              | x     AMENDED PLAN (Indicate 1ST, 2ND, 3RD,
                                              |       etc)
                                              | ___   Number of Motions to Avoid Liens
                                              | ___   Number of Motions to Value Collateral

                                      CHAPTER 13 PLAN

                                            NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the
following items. If an item is checked as “Not Included” or if both boxes are checked or if
neither box is checked, the provision will be ineffective if set out later in the Plan.

 1   The plan contains nonstandard provisions, set out in     *       Included   G       Not
     §9, which are not included in the standard plan as                                  Included
     approved by the U.S. Bankruptcy Court for the
     Middle District of Pennsylvania.
 2   The plan contains a limit on the amount of a secured     G       Not        *      Not
     claim, set out in §2.E, which may result in a partial            Included          Included
     payment or no payment at all to the secured creditor.
 3   The plan avoids a judicial lien or nonpossessory,        G       Included   *      Not
     nonpurchase-money security interest, set out in §2.G                               Included

                            YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a
timely written objection. This plan may be confirmed and become binding on you without
further notice or hearing unless a written objection is filed before the deadline stated on the
Notice issued in connection with the filing of the Plan.

1.     PLAN FUNDING AND LENGTH OF PLAN.

       A.      Plan Payments From Future Income




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                1. To date, the Debtor paid $00.00 (enter $0 if no payments have been made to
the Trustee to date). Debtor shall pay to the Trustee for the remaining term of the plan the
following payments. If applicable, in addition to monthly plan payments, Debtor shall make
conduit payments through the Trustee as set forth below. The total base plan is $7,200.00 plus
other payments and property stated in §1B below:

    Start            End              Plan            Estimated         Total             Total
   mm/yyyy          mm/yyyy          Payment           Conduit         Monthly          Payment
                                                      Payment          Payment          Over Plan
                                                                                          Tier
 05/2020          04/2023          $200.00          $0.00            $200.00          $7,200.00


                                                                            Total $7,200.00
                                                                        Payments:

       2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the
Trustee that a different payment is due, the Trustee shall notify te Debtor and any attorney for the
Debtor, in writing, to adjust the conduit payments and the plan funding. Debtor must pay all
post-petition mortgage payments that come due before the initiation of conduit mortgage
payments.

         3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform
to the terms of the plan.

       4. CHECK ONE:           (x ) Debtor is at or under median income. If this line is checked,
                               the rest of §1.A.4 need not be completed or reproduced.

                               ( ) Debtor is over median income. Debtor estimates that a
                               minimum of $ _______ must be paid to allowed unsecured
                               creditors in order to comply with the Means Test.

B. Additional Plan Funding From Liquidation of Assets/Other

       1.       The Debtor estimates that the liquidation value of this estate is $0.00. (Liquidation
                value is calculated as the value of all non-exempt assets after the deduction of
                valid liens and encumbrances and before the deduction of Trustee fees and priority
                claims.)

       Check one of the following two lines.

            X   No assets will be liquidated. If this line is checked, the rest of §1.B need not be
                completed or reproduced.




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     ____   Certain assets will be liquidated as follows:

     2.     In addition to the above specified plan payments, Debtor shall dedicate to the plan
            proceeds in the estimated amount of $______________ from the sale of property
            known and designated as ____________________________. All sales shall be
            completed by _____________, 20____. If the property does not sell by the date
            specified, then the disposition of the property shall be as follows:
            ______________________.

     3.     Other payments from any source(s) (describe specifically) shall be paid to the
            Trustee as follows: _______________________________________________.

            If Debtor secures employment, Debtor agrees to provide pay stub to Trustee and
            amend Schedule I/J, if necessary.

2.   SECURED CLAIMS.

     A.     Pre-Confirmation Distributions. Check one.

      X     None. If “None” is checked, the rest of §2.A need not be completed or
            reproduced.

     ____   Adequate protection and conduit payments in the following amounts will be paid
            by the Debtor to the Trustee. The Trustee will disburse these payments for which
            a proof of claim has been filed as soon as practicable after receipt of said
            payments from the Debtor.

     Name of Creditor          Last Four Digits of Account          Estimated Monthly
                                        Number                           Payment



     1.     The Trustee will not make a partial payment. If the Debtor makes a partial plan
            payment, or if it is not paid on time and the Trustee is unable to pay timely a
            payment due on a claim in this section, the Debtor’s cure of this default must
            include any applicable late charges.

     2.     If a mortgagee files a notice pursuant to Fed. R. Bankr.P.3002.1(b), the change in
            the conduit payment to the Trustee will not require modification of this Plan.

     B.     Mortgages (Including Claims Secured by Debtor’s Principal Residence) and
            Other Direct Payments by Debtor. Check One.

            None. If “None” is checked, the rest of §2.B need not be completed or
            reproduced.




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      X     Payments will be made by the Debtor directly to the creditor according to the
            original contract terms, and without modification of those terms unless otherwise
            agreed to by the contracting parties. All liens survive the plan if not avoided or
            paid in full under the plan.



     Name of Creditor             Description of Collateral       Last Four Digits of Account
                                                                           Number
Freedom Mortgage Corp.          304 Whipporwill Lane             0158
                                East
                                Stroudsburg, PA 18302



     C.     Arrears (Including, but not limited to, claims secured by Debtor’s principal
            residence). Check one.

            None. If “None” is checked, the rest of §2.C need not be completed or
            reproduced.

     _ x _ The Trustee shall distribute to each creditor set forth below the amount of
           arrearages in the allowed claim. If post-petition arrears are not itemized in an
           allowed claim, they shall be paid in the amount stated below. Unless otherwise
           ordered, if relief from the automatic stay is granted as to any collateral listed in
           this section, all payments to the creditor as to that collateral shall cease, and the
           claim will no longer be provided for under §1322(b)(5) of the Bankruptcy Code.

Name of           Description of      Estimated Pre-       Estimated Post-     Estimated
Creditor          Collateral          Petition             Petition            Total to be paid
                                      Arrears to be        Arrears to be       in plan
                                      Cured                Cured
Freedom           304                 $116,500.00          $5,100.00           $0.00
Mortgage Corp.    Whipporwill                              (5/20-7/20)_
                  Lane, East
                   Stroudsburg,
                  PA 18302




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        D. Other secured claims (conduit payments and claims for which a §506 valuation
is not applicable, etc.)

       X       None. If “None” is checked, the rest of §2.D need not be completed or
               reproduced.


               The claims below are secured claims for which a § 506 valuation is not
               applicable, and can include: (1) claims that were either (a) incurred within 910
               days of the petition date and secured by a purchase money security interest in a
               motor vehicle acquired for the personal use of the Debtor, or (b) incurred within 1
               year of the petition date and secured by a purchase money security interest in any
               other thing of value; (2) conduit payments; or (3) secured claims not provided
               elsewhere.

      1.       The allowed secured claims listed below shall be paid in full and their liens
               retained until the earlier of the payment of the underlying debt determined under
               nonbankruptcy law or discharge under §1328 of the Code.

      2.       In addition to payment of the allowed secured claim, present value interest
               pursuant to 11 U.S.C. §1325(a)(5)(B)(ii) will be paid at the rate and in the amount
               listed below, unless an objection is raised. If an objection is raised, then the court
               will determine the present value interest rate and amount at the confirmation
               hearing.

      3.       Unless otherwise ordered, if the claimant notifies the Trustee that the claim was
               paid, payments on the claim shall cease.

    Name of           Description of        Principal          Interest Rate      Total to be Paid
    Creditor           Collateral           Balance of                                in Plan
                                              Claim




      E.       Secured claims for which §506 valuation is applicable. Check one.

               None. If “None” is checked, the rest of §2.E need not be completed or
               reproduced.


           X   Claims listed in the subsection are debts secured by property not described in
               §2.D of this plan. These claims will be paid in the plan according to modified
               terms, and liens retained until the earlier of the payment of the underlying debt




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              determined under nonbankruptcy law or discharge under §1328 of the Code. The
              excess of the creditor’s claim will be treated as an unsecured claim. Any claim
              listed as “$0.00" or “NO VALUE” in the “Modified Principal Balance” column
              below will be treated as an unsecured claim. The liens will be avoided or limited
              through the plan or Debtor will file an adversary action or other action (select
              method in last column). To the extent not already determined, the amount, extent
              or validity of the allowed secured claim for each claim listed below will be
              determined by the court at the confirmation hearing. Unless otherwise ordered, if
              the claimant notifies the Trustee tat the claim was paid, payments on the claim
              shall cease.



Name of         Description      Value of        Interest         Total           Plan,
Creditor        of Collateral    Collateral      Rate             Payment         Adversary
                                 (Modified                                        or Other
                                 Principal)                                       Action
Aaron’s         304              Zero            None             None            Adversary
                Whipporwill
                Lane, East
                 Stroudsburg,
                PA 18302
Asset           304              Zero            None             None            Adversary
Acceptance,     Whipporwill
LLC             Lane, East
                 Stroudsburg,
                PA 18302



     F. Surrender of Collateral. Check one.

          X   None. If “None” is checked, the rest of §2.F need not be completed or
              reproduced.

              The Debtor elects to surrender to each creditor listed below the collateral that
              secures the creditor’s claim. The Debtor requests that upon confirmation of this
              plan or upon approval of any modified plan the stay under 11 U.S.C. §362(a) be
              terminated as to the collateral only and that the stay under §1301 be terminated in
              all respects. Any allowed unsecured claim resulting from the disposition of the
              collateral will be treated in Part 4 below.

              Name of Creditor                          Description of Collateral to be
                                                                Surrendered




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       G.       Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax
                liens. Check one.

            X   None. If “None” is checked, the rest of §2.G need not be completed or
                reproduced.

       _        The Debtor moves to avoid the following judicial and/or nonpossessory, non-
                purchase money liens of the following creditors pursuant to §522(f) (this §should
                not be used for statutory or consensual liens such as mortgages).

 Name of Lien Holder
 Lien Description
 For judicial lien, include
 court
 and docket number
 Description of the liened
 property
 Liened Asset Value
 Sum of Senior Liens
 Exemption Claimed
 Amount of Lien
 Amount Avoided

3.     PRIORITY CLAIMS.

       A.       Administrative Claims

                1.     Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the
                       rate fixed by the United States Trustee.

                2.     Attorney’s Fees. Complete only one of the following options:

                       a.      In addition to the retainer of $1,000.00 already paid by the Debtor,
                               the amount of $3,000.00 in the plan. This represents the unpaid




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                          balance of the presumptively reasonable fee specified in L.B.R.
                          2016-2( c); or


                  b.      $_______ per hour, with the hourly rate to be adjusted in
                          accordance with the terms of the written fee agreement between the
                          Debtor and the attorney. Payment of such lodestar compensation
                          shall require a separate fee application with the compensation
                          approved by the Court pursuant to L.B.R. 2016-2(b).

           3.     Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2
                  above. Check one of the following two lines.

                    X     None. If “None” is checked, the rest of § 3.A.3 need not be
                          completed or reproduced.

                  ____    The following administrative claims will be paid in full.

           Name of Creditor                            Estimated Total Payment




     B.    Priority Claims (including, certain Domestic Support Obligations)

           Allowed unsecured claims entitled to priority under § 1322(a) will be paid in full
           unless modified under §9.

           Name of Creditor                            Estimated Total Payment




     C.    Domestic Support Obligations assigned to or owed to a governmental unit
           under 11 U.S.C. § (a)(1)(B). Check one of the following two lines.

            X     None. If “None” is checked, the rest of § 3.C need not be completed or
                  reproduced.

           _      The allowed priority claims listed below are based on a domestic support
                  obligation that has been assigned to or is owed to a governmental unit and
                  will be paid less than the full amount of the claim. This plan provision




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                         requires that payments in § 1.A. be for a term of 60 months (see 11 U.S.C.
                         § 1322 (a)(4)).

                  Name of Creditor                              Estimated Total Payment




4.       UNSECURED CLAIMS

         A.       Claims of Unsecured Nonpriority Creditors Specially Classified. Check one
                  of the following two lines.

                  _ X _ None. If “None” is checked, the rest of § 4.A need not be completed or
                        reproduced.

                  ____   To the extent that funds are available, the allowed amount of the following
                         unsecured claims, such as co-signed unsecured debts, will be paid before
                         other, unclassified, unsecured claims. The claim shall be paid interest at
                         the rate stated below. If no rate is stated, the interest rate set forth in the
                         proof of claim shall apply.

       Name of            Reason for          Estimated           Interest Rate        Estimated
       Creditor             Special           Amount of                              Total Payment
                         Classification        Claim



         B.       Remaining allowed unsecured claims will receive a pro-rata distribution of
                  funds remaining after payment of other classes.

5.       EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the
         following two lines.

          X       None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

                  The following contracts and leases are assumed (and arrears in the allowed claim
                  to be cured in the plan) or rejected:

     Name of       Description     Monthly       Interest     Estimated       Total       Assume or
      Other        of Contract     Payment         Rate        Arrears         Plan        Reject
      Party         or Lease                                                 Payment




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6.      VESTING OF PROPERTY OF THE ESTATE.

        Property of the estate will vest in the Debtor upon

        Check the applicable line:

                plan confirmation.
        ___     entry of discharge.
         X      closing of case.

7.      DISCHARGE: (Check one)

        (X)     The debtor will seek a discharge pursuant to § 1328(a).
        ( )     The debtor is not eligible for a discharge because the debtor has previously
                received a discharge described in § 1328(f).

8.      ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date,
the Trustee will treat the claim as allowed, subject to an objection by the Debtor.

Payments from the plan will be made by the Trustee in the following order:
Level 1:        Adequate Protection Payments
Level 2:        Debtor’s Attorney Fees
Level 3:       Domestic Support Obligations
Level 4:        Secured Claims, Pro Rata
Level 5:      Priority Claims, pro rata
Level 6:     Specially classified unsecured claims
Level 7:     Timely filed general unsecured claims
Level 8:      Untimely filed general unsecured claims to which Debtor has not objected

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the
above Levels are not filled-in, then the order of distribution of plan payments will be determined
by the Trustee using the following as a guide:

Level 1:        Adequate protection payments.
Level 2:        Debtor’s attorney’s fees.
Level 3:        Domestic Support Obligations.
Level 4:        Priority claims, pro rata.
Level 5:        Secured claims, pro rata.
Level 6:        Specially classified unsecured claims.




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Level 7:       Timely filed general unsecured claims.
Level 8:       Untimely filed general unsecured claims to which the Debtor has not objected.


9. NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision
placed elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as
one document, not as a plan and exhibit.)

The following is a summary of the creditors and amounts to be paid by the Trustee
pursuant to this Plan:

       Chapter 13 Trustee                            $     720.00(est.)
       Tullio DeLuca, Esq.,                          $   3,000.00
       Unsecured Creditors - pro-rata basis          $   3,480.00
       Total:                                        $   7,200.00

*** The pre-petition mortgage arrears and post-petition arrears from May 2020 through
July 2020 will be paid through loan modification. The loan modification documents will
be submitted to Freedom Mortgage Corporation on or before July 31, 2020. Freedom
Mortgage Corporation will make a final decision on the loan modification on or before
November 30, 2020. If the loan modification is approved, Debtors will file a Motion to
Approve Loan Modification and obtain approval on or before December 31, 2020. If the
Debtor’s Loan Modification is denied, Debtor shall file an Amended Plan on or before
December 31, 2020.




Dated: April 17, 2020                         /s/Erica M. Williams
                                              Debtor


                                              /s/Tullio DeLuca
                                              Attorney for Debtor




By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor
also certifies that this plan contains no nonstandard provisions other than those set out in §9.




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